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                                                                                   May 08, 2024
                                                                              CLERK, U.S. DISTRICT COURT
                           UNITED STATES DISTRICT COURT                       WESTERN DISTRICT OF TEXAS
                            WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION                                          LRT
                                                                           BY: ________________________________
                                                                                                   DEPUTY


UNITED STATES OF AMERICA
                                                       Case No. 23-cr-100-DAE
               v.

NATIN PAUL


                                            ORDER

       Defendant Nate Paul’s Unopposed Motion for Issuance of Subpoenas Duces Tecum is

GRANTED. He may issue subpoenas to third parties for production of documents before trial;

such documents shall be governed by the terms of the protective order in this case; and he shall

produce to the government documents that he intends to use in his case in chief.



                    8th day of ____________,
       SIGNED this _____         May         2024, at Austin, Texas.



                                     _______________________________________
                                     Dustin M. Howell
                                     United States Magistrate Judge
